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    .IS 44 (Rev 10/20)
                                                                                       CIVIL COVER SHEET
    The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the tiling and sendee of pleadings or other papers as required by law, except as
    provided by local roles of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
    purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THE FORM.)

    I.        (a) PLAINTIFFS                                                                                        DEFENDANTS
                  Philadelphia Energy Solutions Refining & Marketing, LLC and PES                                   The Babcock & Wilcox Co„ Babcock &. Wilcox Co., Babcock & Wilcox Holdings.
                  Liquidating Trost                                                                                 LLC, Babcock & Wilcox Enterprises, Inc.
                  1735 Market St. Phila. PA 19103                                                                   1200 East Market Street. Suite 650. Akron. OH 44305
              (b) County of Residence of First Listed Plaintiff                                                     County of Residence of First Listed Defendant
                                       (EXCEPT IN U.S. PLAINTIFF CASES)                                                                     (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                    NOTE:           IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                    THE TRACT OF LAND INVOLVED.

              (c) Attorney 's (Firm Name, Address, and Telephone Number)                                            Attorneys (IfKnown)
        James F, Manion, Esq./Kevin E. Raphael, Esq.                                                                Robert G. Devine, Esquire/ White and Williams LLP
        Pietragallo Gordon Alfano Bosick & Raspanti, LLP                                                            1650 Maiket St, Suite 1800, One Liberty Place
________ ISIS Market St.. Suite 3402. Phila. PA 19103 215-320-6200                                                  Phila..PA 19103 856-317-3647
    II. BASIS OF JURISDICTION (Place an                       “X" in One Box Only)                     IH. CITIZENSHIP OF PRINCIPAL PARTIES                                                      (Place an 'X” in One Box for Plaintiff
                                                                                                                 (For Diversity Cases Only)                                                           and One Boxfor Defendant)
         1      U.S. Government              3     Federal Question                                                                                           PTF           DEF                                         PTF     DEF
                  Plaintiff                           (U.S. Government Not a Party)                       Citizen of This State                                 1               1    Incorporated or Principal Place      4       4
                                                                                                                                                                                        of Business In This State

         2.     U-S. Government              4     Diversity                                              Citizen of Another State                                  2          2     Incorporated and Principal Place        5          5
                  Defendant                           (Indicate Citizenship ofParties in Item III)                                                                                      of Business In Another State

                                                                                                          Citizen or Subject of a                                   3          3     Foreign Nation                          6          6
                                                                                                             Foreign Country
    IV. NATURE OF SUIT                     (Place an "X" in One Box Only)                                                                                                     Click here for: Nature of SuitCodc Descriptions.
                  CONTRACT                                       TORI’S_______________________                   FORFEITURE/PENALTY                                  _______ BANKRUPTCY                        OTHER STATUTES
         I i 0 Insurance                         PERSONAL INJURY        PERSONAL INJURY                        3 625 Drug Related Seizure                                 422 Appeal 28 USC 158             375 False Claims Act
         120 Marine                           310 Airplane                     365 Personal Injury' -                of Property 21 USC 881                               423 Withdrawal                    376 QuiTam(31 USC
         130 Miller Act                       315 Airplane Product                 Product Liability             690 Other                                                    28 USC 157                        3729(a))
         140 Negotiable Instrument                Liability                    367 Health Carc/                                                                                                             400 State Rcapportionmcnt
         150 Recovery of Overpayment          320 Assault, Libel &                 Pharmaceutical                                                                           PROPERTY RIGHTS                 410 Antitrust
               & Enforcement of Judgment          Slander                          Personal Injury                                                                      ZU 820 Copyrights                   430 Banks and Banking
         151 Medicare Act                    330 Federal Employers’                Product Liability                                                                       830 Patent                       450 Commerce
         152 Recovery of Defaulted                Liability                    368 Asbestos Personal                                                                       835 Patent - Abbreviated         460 Deportation
               Student Loans                  340 Marine                           Injury' Product                                                                             New Drug Application         470 Racketeer Influenced and
               (Excludes Veterans)           345 Marine Product                    Liability                                                                               840 Trademark                         Corrupt Organizations
         153 Recovery of Overpayment              Liability                   PERSONAL PROPERTY                                 LABOR                                      880 Defend Trade Secrets         480 Consumer Credit
               of Veteran ’ s Benefits       350 Motor Vehicle                 370 Other Fraud                   710 Fair Labor Standards                                      Act of 2016                       (15 USC 1681 or 1692)
         160 Stockholders’ Suits             355 Motor Vehicle                 371 Truth in Lending                    Act                                                                               21 485 Telephone Consumer
         190 Other Contract                       Product Liability            380 Other Personal                720 Labor/Managcmcnt                                       SOCIAL SECURITY                     Production Act
         195 Contract Product Liability      360 Other Personal                    Property Damage                   Relations                                            861 H1A (1395ft)                  490 Cablc/Sat TV
         196 Franchise                            Injury'                      385 Property' Damage              740 Railway                                              862 Black Lung (923)           J 850 S ecu ritics/Conimodi ties/
                                             362 Personal Injury' -                Product Liability             751 Family and Medical                                   863 DIWC/D1WW (405(g))                Exchange
                                           ______ Medical Malpractice                                                Leave Act                                          3 864 SSID Title XVI             J 890 Other Statutory' Actions
I              REAL PROPERTY                        CIVIL RIGHTS               PRISONER PETITIONS          _     790 Other Labor Litigation                               X65 RSI (405(g))                  891 Agricultural Acts
         210 Land Condemnation                440 Other Civil Rights            Habeas Corpus:                   791 Employee Retirement                                                                 ”1 893 Environmental Matters
         220 Foreclosure                      441 Voting                        463 Alien Detainee                   Income Security Act                                   FEDERAL TAX SUITS                895 Freedom of Information
         230 Rent Lease & Ejectment           442 Employment                    510 Motions to Vacate                                                                     870 Taxes (U.S. Plaintiff             Act
         240 Torts to Land                    443 Housing/                          Sentence                                                                                  or Defendant)              3 896 Arbitration
         245 Tort Product Liability'              Accommodations                530 General                                                                               871 IRS-Third Party'              899 Administrative Procedure
         290 All Other Real Property          445 Amer, w/Disabilitics -        535 Death Penalty                       IMMIGRATION                                           26 USC 7609                       Act/Rcvicw or Appeal of
                                                  Employment                    Other:                           *4I 62 N a turn 1 i za t i o n App I i c a ti on                                               .Agency Decision
                                              446 Amer. w/Disabilitics -        540 Mandamus & Other             4 65 Other Immigration                                                                     950 Constitutionality of
                                                  Other                         550 Civil Rights                        Actions                                                                                 State Statutes
                                              448 Education                     555 Prison Condition
                                                                                560 Civil Detainee -
                                                                                    Conditions of
                                                                                    Confinement
V. ORIGIN (Place an               “X” in One Box Only)
             1 Original           £3 2 Removed from                 3 Remanded from                  4 Reinstated or                         5 Transferred from                           6 Multidistrict           8 Multidistrict
               Proceeding              State Court                    Appellate Court                  Reopened                                Another District                             Litigation                Litigation -
                                                                                                                                               (specify)                                    Transfer                  Direct File
                                                 Cite the U.S, Civil Statute under which you are filing (Do not cite jit risdiet i o n statufes it n Iess diversity):
                                                 28 U.S. C.       1441 and 1452
VI. CAUSE OF ACTION                              Brief description of cause:
                                                 Product liability suit barred by prior bankruptcy discharge of defendants.
VII. REQUESTED IN                                     CHECK IF THIS IS A CLASS ACTION                 DEMANDS                                                CHECK YES only if demanded in complaint:
                                                      UNDER RULE 23, F.R.Cv.P.                                                                               JURY DEMAND:          Yes       No
     COMPLAINT:
                                                                            JUDGE                                                                                   DOCKET NUMBER
VIII. RELATED CASE(S)                                 (See instructions):
       IF ANY
DATE
3/22/2021

FOR OFFICE USE ONLY
             RECEIPT ;?                          AMOUNT                              APPLYING IFP                                              JUDGE                                       MAG. JUDGE
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                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                        CASE MANAGEMENT TRACK DESIGNATION FORM

PHILADELPHIA ENERGY SOLUTIONS                               :     CIVIL ACTION
REFINING & MARKETING, LLC and PES                          :
LIQUIDATING TRUST                                          :
               v.                                          :
THE BABCOCK & WILCOX COMPANY,                              :
BABCOCK & WILCOX COMPANY,                                    :    NO.
BABCOCK & WILCOX HOLDINGS, LLC,
BABCOCK & WILCOX ENTERPRISES,
INC.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a case management track designation form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus - Cases brought under 28 U.S.C. §2241 through §2255,                                (     )

(b) Social Security - Cases requesting review of a decision of the Secretary of Health                (     )
    and Human Services denying plaintiff Social Security Benefits.

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.        (     )

(d) Asbestos - Cases involving claims for personal injury or property damage from                     (     )
    exposure to asbestos.

(e) Special Management - Cases that do not fall into tracks (a) through (d) that are                      (X)
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)

(f)    Standard Management — Cases that do not fall into any one of the otk£?r tracks.                (     )

3/22/2021                         Robert G. Devine
Date                              Attorney-at-law                   Attorney tor Defendants The
                                                                    Babcock & Wilcox Company, et
                                                                    al.
215-864-7000                      215-864-7123                      deviner@whiteandwilliams.com
Telephone                         Fax Number                        E-mail Address




(Civ. 660) 10/02

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                                                              UNITED STATES DISTRICT COURT
                                                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                            DESIGNATION FORM
                       (to be used by counsel or pro se plaintiff to indicate the category ofthe casefor the purpose ofassignment to the appropriate calendar)

 Address of Plaintiff:             1735 Market Street, Philadelphia, PA 19103
 a jj         c j t        1200 East Market Street, Suite 650, Akron, OH 44305
 Address of Defendant:                             ’________ '__________________________
                                           Bankruptcy Discharge Order entered by E.D. La, District Court in E.D. La. Bankruptcy Court matter
Place of Accident, Incident or Transaction Loss oci             la____________________________________________



RELATED CASE, IF ANY:

 Case Number:Judge:                                                                                                           Date Terminated:

Civil cases are deemed related when Yes is answered to any of the following questions:

 1.    Is this case related to property included in an earlier numbered suit pending or within one year                             Yes                No
       previously terminated action in this court?                                                                                        —                 —

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                            Yes                No
       pending or within one year previously terminated action in this court?                                                             —                 —

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier                            Yes                   No
       numbered case pending or within one year previously terminated action of this court?                                               —                 —
4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                         Yes                   No
       case filed by the same individual?                                                                                                                   —

I certify that, to my knowledge, the within case l~~l is / l~~l is not related to any case now pending or within one year previously terminated action in
this court except as noted above.

DATE:                                                                                 Must sign here
                                                                          Attomey-at-Law /Pro Se Plaintiff                                Attorney I.D. # (ifapplicable)


CIVIL: (Place a V in one category only)

A.            Federal Question Cases:                                                         B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                      |   1.    Insurance Contract and Other Contracts
       2.      FELA                                                                                 2.   Airplane Personal Injury
       3.      Jones Act-Personal Injury                                                     d      3.   Assault, Defamation
       4.      Antitrust                                                                     ! -[   4.   Marine Personal Injury
       5.      Patent                                                                        d      5.   Motor Vehicle Personal Injury
       6.      Labor-Management Relations                                                    1 |    6.   Other Personal Injury (Please specify):
       7.      Civil Rights                                                                  d      7.   Products Liability
              Habeas Corpus                                                                   —|    8.   Products Liability - Asbestos
               Securities Act(s) Cases                                                      d       9.   All other Diversity Cases
               Social Security Review Cases                                                              (Please specify):
 X            All other Federal Question Cases
               (Please specify):          Bankruptcy discharge of defendants



                                                                              ARBITRATION CERTIFICATION
                                                    (The effect of this certification is to remove the casefrom eligibilityfor arbitration.)

I, Robert G. Devine counsel of record or pro se plaintiff, do hereby certify:

              Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive ofinterest and costs:

              Relief other than monetary damages is sought.


DATE:,         3/22/2021                        ________                                                                                       46384
                                                                          Attomey-at-Law / Pro Se Plaintiff                               Attorney ID. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 PHILADELPHIA ENERGY SOLUTIONS
 REFINING & MARKETING, LLC,
 1735 MARKET STREET
 PHILADELPHIA, PA 19103

 and

 PES LIQUIDATING TRUST,
 1735 MARKET STREET                               Civil Action No.
 PHILADELPHIA, PA 19103
       Plaintiffs,

 v.

 THE BABCOCK & WILCOX COMPANY
 1200 EAST MARKET STREET, SUITE 650,
 AKRON, OH 44305
                                             Removed from Court of Common Pleas of
 BABCOCK & WILCOX COMPANY                    Philadelphia, Civil Division
 1200 EAST MARKET STREET, SUITE 650,
 AKRON, OH 44305                             Case ID: 210202578

 BABCOCK & WILCOX HOLDINGS, LLC.
 1200 EAST MARKET STREET, SUITE 650,
 AKRON, OH 44305

 BABCOCK & WILCOX ENTERPRISES,
 INC.
 1200 EAST MARKET STREET, SUITE 650,
 AKRON, OH 44305

         Defendants.


     NOTICE OF REMOVAL BY DEFENDANTS THE BABCOCK & WILCOX
    COMPANY, DESIGNATED CORRECTLY AS THE BABCOCK & WILCOX
    COMPANY AS WELL AS INCORRECTLY DESIGNATED AS BABCOCK &
 WILCOX COMPANY, BABCOCK & WILCOX HOLDINGS, LLC AND BABCOCK &
                    WILCOX ENTERPRISES, INC.




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         PLEASE TAKE NOTICE, that Defendants THE BABCOCK & WILCOX COMPANY,

designated correctly as THE BABCOCK & WILCOX COMPANY as well as incorrectly

designated as BABCOCK & WILCOX COMPANY, BABCOCK & WILCOX HOLDINGS, LLC

and BABCOCK & WILCOX ENTERPRISES, INC. (collectively, “Babcock & Wilcox”), by and

through their undersigned counsel, White and Williams LLP, hereby remove this action from the

Court of Common Pleas, Philadelphia County, Commonwealth of Pennsylvania (the “Court of

Common Pleas”), to the United States District Court for the Eastern District of Pennsylvania (the

“District Court”), pursuant to 28 U.S.C. §§ 1441, 1446,and 1452 and Federal Rule of Bankruptcy

Procedure 9027(a). In support of this Notice of Removal, Babcock & Wilcox states the following:

         1.      On February 26, 2021, Plaintiffs Philadelphia Energy Solutions Refining and

Marketing LLC and PES Liquidating Trust (“Plaintiffs”) filed a complaint in the Court of

Common Pleas, asserting claims of negligence, strict liability, and breach of implied warranties

(“State Court Action”). See State Court Action Complaint attached hereto as Exhibit A.

        2.       On February 22, 2000, The Babcock & Wilcox Company and certain affiliates

(“Debtors”) filed voluntary petitions under Chapter 11 of the United States Code in the United

States Bankruptcy Court for the Eastern District of Louisiana (the “Bankruptcy Court”), In re

The Babcock & Wilcox Company, et al., Docket No. 00-10992 (the “Bankruptcy Action”).

        3.       The discharge injunction in Debtors’ Joint Plan ofReorganization as ofSeptember

28, 2005, as Amended Through January 17, 2006 (the “Plan”) provides in pertinent part:

                 Except as otherwise provided in this Plan, the rights afforded in this
                 Plan and the treatment of all Claims and Equity Interests herein shall
                 be in exchange for and in complete satisfaction, discharge, and
                 release of all Claims and Equity Interests of any nature whatsoever,
                 including any interest accrued thereon from and after the Petition
                 Date, against the Debtors and the Debtors in Possession, or their
                 assets, properties, or interests in property. Except as otherwise
                 provided herein, on the Effective Date, all Claims against and Equity


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                 Interests in the Debtors and the Debtors in Possession (including
                 any based on acts or omissions that constituted or may have
                 constituted ordinary or gross negligence or reckless, willful, or
                 wanton misconduct of any of the Debtors, or any conduct for
                 which any of the Debtors may be deemed to have strict liability
                 under any applicable law) shall be satisfied, discharged, and
                 released in full. The Reorganized Debtors shall not be responsible
                 for any obligations of the Debtors or the Debtors in Possession
                 except ... those expressly assumed by the Reorganized Debtors
                 pursuant to this Plan .... All Entities shall be precluded and forever
                 barred from asserting against the Debtors, the Reorganized Debtors,
                 ..., or their assets, properties, or interests in property any other or
                 further Claims or Demands based upon any act or omission,
                 transaction, or other activity, event, or occurrence of any kind or
                 nature that occurred prior to the Effective Date, whether or not the
                 facts of or legal bases therefor were known or existed prior to the
                 Effective Date, except as expressly provided in this Plan.

See Plan, attached hereto as Exhibit B, at § 11.2 (emphasis in original).1

        4.       Article 9 of the Plan further provides that:

                  [T]he [Bankruptcy] Court shall retain and shall have exclusive
                 jurisdiction to the fullest extent provided by applicable law over any
                 matter (a) arising under the Bankruptcy Code, (b) arising in or
                 related to the Chapter 11 Cases or this Plan, or (c) that relates to the
                 following: . ..

                 9.5.10 To enter such orders as are necessary to implement and
                 enforce the injunctions described herein....

        5.       On January 18, 2006, the Bankruptcy Court entered an order confirming the Plan

(the “Confirmation Order’), which became effective on February 22, 2006. The Confirmation

Order provides that:

                 Notwithstanding any closing of the Chapter 11 cases, [Debtors] may
                 move ... to reopen the Chapter 11 cases for the purpose of seeking
                 relief pursuant to the retained jurisdiction of the Bankruptcy Court
                 provided herein, in the [Plan], or under applicable law.

See Confirmation Order, attached hereto as Exhibit C, at ^[ 64.




     1 The Plan’s exhibits are voluminous and not relevant to this Notice of Removal, and thus have not been attached.


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        6.       On June 20, 2009, the Bankruptcy Court entered a “Final Decree Order,” which

closed the bankruptcy case “without prejudice to the rights of The Babcock & Wilcox Company

to seek to reopen its chapter 11 case for cause[.]” See Final Decree Order attached hereto as

Exhibit D.

        7.       The Bankruptcy Court further ordered that it would “retain[] jurisdiction with

respect to all matters arising from or related to the interpretation or implementation of this Order.”

        8.       Babcock & Wilcox files this Notice for Removal because the State Court Action

directly arises from the Bankruptcy Action insofar as it violates the discharge injunction contained

in the confirmed Plan and thus implicates the Bankruptcy Court’s retained jurisdiction.

        9.       Babcock & Wilcox was served with the Complaint on March 2,2021. Accordingly,

this Notice of Removal is timely filed pursuant to 28 U.S.C § 1446(b)(1).

                                       The Basis for Removal

        10.      Babcock & Wilcox seeks removal of the State Court Action pursuant to 28 U.S.C

§§ 1441 and 1452.

        11.      Section 1452 of the United States Code provides, “[a] party may remove any claims

or causes of action ... to the district court where such civil action is pending, if such district court

has jurisdiction of such claim or cause of action under section 1334 of this title.” 28 U.S.C. §

1452(a); see also Fed. R. Bankr. P. 9027 (governing removal in bankruptcy matters).

        12.      Section 1334 provides, “the district courts shall have original but not exclusive

jurisdiction of all civil proceedings arising under title 11, or arising in or related to cases under

title 11.” 28 U.S.C. § 1334(b). Thus, the District Court and the Bankruptcy Court have original

jurisdiction over the State Court Action.




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         13.      Specifically, the Complaint alleges an explosion occurred on or about June 21,2019

at an oil refinery complex owned and operated by Plaintiff, Philadelphia Energy Solutions

Refining and Marketing LLC, resulting in damage. See CompL at ffl[ 14-19.

         14.      The Complaint further alleges the explosion was caused by “a hydrocarbon vapor

release” emanating from an elbow joint that was “designed, manufactured, marketed, distributed

or sold by [Babcock & Wilcox.]” See Compl. at ffl[ 15, 17, 20-21.

         15.      Further, the Complaint alleges the elbow joint at issue was purchased during the

construction of the refinery where the elbow joint was installed and the subsequent explosion

occurred. See Compl. at       16.

         16.      On information and belief, the construction, and thus, sale of the elbow joint

occurred in the 1970s, roughly three decades before the Bankruptcy Action began.

         17.      When, as here, an action implicates the discharge injunction in a confirmed plan of

reorganization, it falls squarely within the confines of the Bankruptcy court’s continuing

jurisdiction. Indeed, the Third Circuit has held:

                  [T]he jurisdiction of the non-Article III bankruptcy courts is limited
                  after confirmation of a plan. But where there is a close nexus to the
                  bankruptcy plan or proceeding, as when a matter affects the
                  interpretation, implementation, consummation, execution, or
                  administration of a confirmed plan ..., retention of post­
                  confirmation bankruptcy court jurisdiction is normally appropriate.

Binder v. Price Waterhouse & Co., LLP (In re Resorts Int'l, Inc.), 372 F.3d 154, 168-69 (3d Cir.

2004). Other courts have similarly held that a debtor may remove a case, pursuant to 28 U.S.C. §

1452, based on the need to determine whether a particular debt has been discharged. See, e.g.,

Rhodes Life Ins. Co. v. Mendy Props., L.C., 2009 U.S. Dist. LEXIS 41691, *9-10 (E.D. La. Apr.

30, 2QWd)(citing Insurance Co. ofN. Am. v. NGC Settlement Trust (In re National Gypsum Co.),

118 F.3d 1056, 1063-64 (5th Cir. 1997)).


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         18.      Therefore, this State Court Action arises from the Bankruptcy Action and may be

removed to federal court.

                                       Reservation of Rights

         19.      This Notice of Removal is without prejudice to any and all other rights and

remedies that Babcock & Wilcox may have with respect to enforcement of the Plan, including the

discharge injunction contained therein, all of which rights and remedies are expressly reserved,

including without limitation the right to seek to reopen the Bankruptcy Action for the purpose of

enforcing the Plan and its discharge injunction and to seek damages for violation of the discharge

injunction.

                                            Conclusion

        20.       The State Court Action, which directly arises from the Bankruptcy Action insofar

as it violates the discharge injunction contained in the confirmed Plan and thus implicates the

Bankruptcy Court’s retained jurisdiction, is properly removed to federal court.

        21.       Pursuant to 28 U.S.C. § 1446(d), written notice of this Notice of Removal will

promptly be given to all parties.

        WHEREFORE, having shown that this case is properly removable, Babcock & Wilcox

provides notice pursuant to 28 U.S.C. § 1446 that the Action pending in the Court of Common

Pleas, Philadelphia County, Commonwealth of Pennsylvania, Case No. 210202578, is removed to

the United States District Court for the Eastern District of Pennsylvania.




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                                         Respectfully submitted,

                                         WHITE AND WILLIAMS LLP


                                         BY
                                                 Robert G. Devine, Esquire
                                                 Victor J. Zarrilli, Esquire
                                                 1650 Market Street, Suite 1800
                                                 One Liberty Place
                                                 Philadelphia, PA 19103-7395
                                                 Phone-215-864-7000
                                                 Fax-215-864-7123
                                                 deviner@whiteandwilliams.com
                                                 zarrilliv@whiteandwilliams.com


Dated: March 22, 2021




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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

PHILADELPHIA ENERGY SOLUTIONS
REFINING & MARKETING, LLC,
1735 MARKET STREET
PHILADELPHIA, PA 19103

and

PES LIQUIDATING TRUST,
1735 MARKET STREET                                 Civil Action No.
PHILADELPHIA, PA 19103
      Plaintiffs,

v.

THE BABCOCK & WILCOX COMPANY
1200 EAST MARKET STREET, SUITE 650,
AKRON, OH 44305
                                              Removed from Court of Common Pleas of
BABCOCK & WILCOX COMPANY                      Philadelphia, Civil Division
1200 EAST MARKET STREET, SUITE 650,
AKRON, OH 44305                               Case ID: 210202578

BABCOCK & WILCOX HOLDINGS, LLC.
1200 EAST MARKET STREET, SUITE 650,
AKRON, OH 44305

BABCOCK & WILCOX ENTERPRISES,
INC.
1200 EAST MARKET STREET, SUITE 650,
AKRON, OH 44305

         Defendants.


                                  NOTICE TO PLAINTIFF

TO:      James F. Marrion, Esquire
         Kevin E. Raphael, Esquire
         PIETRAGALLO GORDON ALFANO
         BOSICK & RASPANTI, LLP
         1818 Market Street, Suite 3402
         Philadelphia, PA 19103




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         PLEASE take notice that Defendants, The Babcock & Wilcox Company, Babcock &

Wilcox Company, Babcock & Wilcox Holdings, LLC, and Babcock & Wilcox Enterprises, Inc.,

have filed a Notice in the United States District Court for the Eastern District of Pennsylvania for

removal of an action now pending in the Court of Common Pleas of Philadelphia County,

Pennsylvania captioned Philadelphia Energy Solutions Refining & Marketing, LLC and PES

Liquidating Trust v. The Babcock & Wilcox Company, Babcock & Wilcox Company, Babcock

& Wilcox Holdings, LLC, and Babcock & Wilcox Enterprises, Inc., Case ID: 210202578.

         FURTHER, take notice that Defendants, The Babcock & Wilcox Company, Babcock &

Wilcox Company, Babcock & Wilcox Holdings, LLC, and Babcock & Wilcox Enterprises, Inc.,

have at the same time filed a copy of the Complaint, which was filed and entered in the Court of

Common Pleas of Philadelphia County. A copy of said Notice of Removal is attached to this

Notice and is hereby served upon you.

                                              Respectfully submitted,

                                              WHITE AND WILLIAMS LLP


                                              BY                       1_____________________
                                                      Robert G. Devine, Esquire
                                                      Victor J. Zarrilli, Esquire
                                                      1650 Market Street, Suite 1800
                                                      One Liberty Place
                                                      Philadelphia, PA 19103-7395
                                                      Phone-215-864-7000
                                                      Fax-215-864-7123
                                                      deviner@whiteandwilliams.com
                                                      zaiTilliv@whitcandwilliams.com

Dated: March 22, 2021




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26779576v. 1
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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

PHILADELPHIA ENERGY SOLUTIONS
REFINING & MARKETING, LLC,
1735 MARKET STREET
PHILADELPHIA, PA 19103

and

PES LIQUIDATING TRUST,
1735 MARKET STREET                                       Civil Action No.
PHILADELPHIA, PA 19103
      Plaintiffs,

v.

THE BABCOCK & WILCOX COMPANY
1200 EAST MARKET STREET, SUITE 650,
AKRON, OH 44305
                                                  Removed from Court of Common Pleas of
BABCOCK & WILCOX COMPANY                          Philadelphia, Civil Division
1200 EAST MARKET STREET, SUITE 650,
AKRON, OH 44305                                    Case ID: 210202578

BABCOCK & WILCOX HOLDINGS, LLC.
1200 EAST MARKET STREET, SUITE 650,
AKRON, OH 44305

BABCOCK & WILCOX ENTERPRISES,
INC.
1200 EAST MARKET STREET, SUITE 650,
AKRON, OH 44305

        Defendants.


                                      PROOF OF FILING

TO THE CLERK OF THE COURT:

        I, Robert G. Devine, Esquire, hereby certify that a copy of the foregoing Notice of

Removal will be filed with the Prothonotary of the Philadelphia Court of Common Pleas




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              Case 2:21-cv-01363-AB Document 1 Filed 03/22/21 Page 14 of 18




immediately upon receipt of the certified copy from the United States District Court for the

Eastern District of Pennsylvania.

                                             Respectfully submitted,

                                             WHITE AND WILLIAMS LLP




                                                     RobenG. Devine, Esquire
                                                     Victor J. Zarrilli, Esquire
                                                     1650 Market Street, Suite 1800
                                                     One Liberty Place
                                                     Philadelphia, PA 19103-7395
                                                     Phone-215-864-7000
                                                     Fax-215-864-7123
                                                     deviner@whiteandwilliams . com
                                                     zarrilliv@whiteandwilliams.com

Dated: March 22, 2021




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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

PHILADELPHIA ENERGY SOLUTIONS
REFINING & MARKETING, LLC,
1735 MARKET STREET
PHILADELPHIA, PA 19103

and

PES LIQUIDATING TRUST,
1735 MARKET STREET                                      Civil Action No.
PHILADELPHIA, PA 19103
      Plaintiffs,

v.

THE BABCOCK & WILCOX COMPANY
1200 EAST MARKET STREET, SUITE 650,
AKRON, OH 44305
                                                  Removed from Court of Common Pleas of
BABCOCK & WILCOX COMPANY                          Philadelphia, Civil Division
1200 EAST MARKET STREET, SUITE 650,
AKRON, OH 44305                                   Case ID: 210202578

BABCOCK & WILCOX HOLDINGS, LLC.
1200 EAST MARKET STREET, SUITE 650,
AKRON, OH 44305

BABCOCK & WILCOX ENTERPRISES,
INC.
1200 EAST MARKET STREET, SUITE 650,
AKRON, OH 44305

        Defendants.


                                CERTIFICATE OF SERVICE


        I, Robert G. Devine, Esquire, hereby certify that on March 22, 2021,1 caused a true and

correct copy of the foregoing NOTICE OF REMOVAL; DISCLOSURE STATEMENT; CIVIL

COVERSHEET; U.S. DISTRICT COURT DESIGNATION FORM; CASE MANAGEMENT




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TRACK DESIGNATION FORM; NOTICE TO PLAINTIFF; and PROOF OF MAILING to

be served upon the following persons by electronic mail:

                       James F. Marrion, Esquire
                       Kevin E. Raphael, Esquire
                       PIERTRAGALLO GORDON ALFANO
                       BOSICK & RASPANTI, LLP
                       1818 Market Street, Suite 3402
                       Philadelphia, PA 19103


                                            Respectfully submitted,

                                            WHITE AND WILLIAMS LLP


                                            BY                     ----- _____________
                                                             (j. Devine, Esquire
                                                    Victor J. Zarrilli, Esquire
                                                    1650 Market Street, Suite 1800
                                                    One Liberty Place
                                                    Philadelphia, PA 19103-7395
                                                    Phone-215-864-7000
                                                    Fax-215-864-7123
                                                    deviner@whiteandwilliams.com
                                                    zarrilliv@whiteandwilliams.com

Dated: March 22, 2021




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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

PHILADELPHIA ENERGY SOLUTIONS
REFINING & MARKETING, LLC,
1735 MARKET STREET
PHILADELPHIA, PA 19103

and

PES LIQUIDATING TRUST,
1735 MARKET STREET                                       Civil Action No.
PHILADELPHIA, PA 19103
      Plaintiffs,

v,

THE BABCOCK & WILCOX COMPANY
1200 EAST MARKET STREET, SUITE 650,
AKRON, OH 44305
                                                   Removed from Court of Common Pleas of
BABCOCK & WILCOX COMPANY                           Philadelphia, Civil Division
1200 EAST MARKET STREET, SUITE 650,
AKRON, OH 44305                                    Case ID:210202578

BABCOCK & WILCOX HOLDINGS, LLC.
1200 EAST MARKET STREET, SUITE 650,
AKRON, OH 44305

BABCOCK & WILCOX ENTERPRISES,
INC.
1200 EAST MARKET STREET, SUITE 650,
AKRON, OH 44305

         Defendants.


                    PROOF OF FILING NOTICE OF REMOVAL WITH
                 COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY


TO THE PROTHONOTARY:

         Pursuant to the Pennsylvania Rules of Civil Procedure and the Federal Rules of Civil

Procedure, enclosed please find for filing a certified copy of Defendants’ Notice of Removal of



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this matter to the United States District Court for the Eastern District of Pennsylvania, the

original of which was filed on March 22, 2021.


                                              Respectfully submitted,

                                              WHITE AND WILLIAMS LLP


                                              by                      _______________________________________


                                                      Robert G. Devine, Esquire
                                                      Victor J. Zarrilli, Esquire
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                                                      Fax-215-864-7123
                                                      deviner@whiteandwilliams.com
                                                      zarrilliv@whiteandwilliams.com

Dated: March 22, 2021




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